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 5
     Attorney for Defendant
     CYNTHIA CORN
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-504 WBS
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS
12
     JEWEL L. HINKLES, et al.,                       )
                                                     )       Date: October 15, 2012
13
                                                     )       Time: 9:30 a.m.
             Defendants.                             )       Judge: Honorable William B. Shubb
14
                                                     )
                                                     )
15
                                                     )
16
             The United States of America through its undersigned counsel, Lee Bickley, Assistant
17
     United States Attorney, together with counsel for defendant Cynthia Corn, John R. Manning,
18

19   Esq., counsel for defendant Jewel Hinkles, Jerome Kaplan, Esq., counsel for defendant

20   Bernadette Guidry, Michael L. Chastaine, Esq., counsel for defendant Jesse Wheeler, Thomas A.
21
     Johnson, Esq., and counsel for defendant Brent Medearis, Kirk McAllister, Esq., hereby stipulate
22
     the following:
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24
          1. By previous order, this matter was set for status conference on August 20, 2012.

25        2. By this stipulation, defendants now move to continue the status conference until October
26
     15, 2012 and to exclude time between August 20, 2012 and October 15, 2012 under the Local
27
     Code T-4 (to allow defense counsel time to prepare).
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                                                         1
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     3. The parties agree and stipulate, and request the Court find the following:
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 2        a. This is a complex case, including over 10,000 pages of discovery and five co-

 3              defendants.
 4
          b.    Counsel for the defendants need additional time to review the discovery and conduct
 5
                investigation.
 6

 7
          c. Counsel for defendants believe the failure to grant a continuance in this case would

 8              deny defense counsel reasonable time necessary for effective preparation, taking into
 9              account the exercise of due diligence.
10
          d. The Government does not object to the continuance.
11
          e. Based on the above-stated findings, the ends of justice served by granting the
12

13              requested continuance outweigh the best interests of the public and the defendants in

14              a speedy trial within the original date prescribed by the Speedy Trial Act.
15
          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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                Section 3161(h)(7)(A) within which trial must commence, the time period of August
17
                20, 2012 to October 15, 2012, inclusive, is deemed excludable pursuant to 18 United
18

19              States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code T-4

20              because it results from a continuance granted by the Court at defendant’s request on
21
                the basis of the Court’s finding that the ends of justice served by taking such action
22
                outweigh the best interest of the public and the defendant in a speedy trial.
23
     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
24

25        Speedy Trial Act dictate that additional time periods are excludable from the period within

26        which a trial must commence.
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                                                      2
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 1   IT IS SO STIPULATED.
 2

 3   Dated: August 16, 2012                             /s/ John R. Manning
                                                       JOHN R. MANNING
 4                                                     Attorney for Defendant
                                                       Cynthia Corn
 5

 6   Dated: August 16, 2012                             /s/ Jerome Kaplan
                                                       Jerome Kaplan
 7                                                     Attorney for Defendant
 8
                                                       JEWEL HINKLES

 9   Dated: August 16, 2012                            /s/ Michael L. Chastaine
                                                       MICHAEL L. CHASTAINE
10                                                     Attorney for Defendant
11
                                                       Bernadette Guidry

12   Dated: August 16, 2012                             /s/ Thomas A. Johnson
                                                       THOMAS A. JOHNSON
13
                                                       Attorney for Defendant
14                                                     Jesse Wheeler

15   Dated: August 16, 2012                            /s/ Kirk McAllister
                                                       KIRK MCALLISTER
16
                                                       Attorney for Defendant
17                                                     Brent Medearis

18
     Dated: August 16, 2012                            Benjamin B. Wagner
19
                                                       United States Attorney
20
                                                       by:/s/ Lee Bickley
21                                                     LEE BICKLEY
                                                       Assistant U.S. Attorney
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23
                                      ORDER
24
            IT IS SO FOUND AND ORDERED this 17th day of August, 2012.
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